                           CASE 0:21-cr-00108-PAM-TNL Doc. 36 Filed 05/13/21 Page 1 of 1

AO 442 (Rev.   ll/ll)   AnestWanant



F#1127427 5                               Umrpu Srarps Drsrrucr CoURT                                                 ffiffiffiffi$VHffi
                                                                  for the                                                        l{AY   13 2021
                                                          District of Minnesota                                    CLERK, U.S. DISTRICT COURT
                                                                                                                      ST. PAI.}I., MINNESOTA
                      United States of America
                                  v.                                )
                                                                                Case   No.   CR 2l-108 PAIWTNL
                             Tou Thao (2)                           )
                                                                    )
                                                                    )             RECEIVED
                                                                    )
                                                                                 By U.S. Marshal, $t. Paul, MN at 2:15 pm, May,0|6,,2A2:!
                                                                    )
                              Defendant


                                                         ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before                  a   United States magistrate judge without unnecessary delay
(name   ofpersonto be arrested) Tou Thao
who is accused of an offense or violation based on the followins document filed with the court:

/   Indictment                  Superseding Indictment           Information Superseding Information                                Complaint
    Probation Violation Petition                 Supervised Release Violation Petition Violation Notice                             Order of the Court

This offense is briefly described as follows:                                                     Pretrial Release Violation Petition

Count 2 - Deprivation of Rights Under Color of Law, 18:242; Count 3 - Deprivation of Rights Under Color of Law, 18:242.




Date:    0510612021
                                                                                                          fficer's   signature


City and    state:      Minneapolis, MN                                                             ,   Fogarty, Clerk of Court
                                                                                                  Printed name and title




          This warrant was received on Hak)                                 , and the person was arrested on         @atu)
at (city and state)



                                                                                               Ane s ting offi c er's s i gnature
                      ARRESTED ON
                      ARRESTED BY



                                                                                                              scl:\l\,x

                                                                                                               MAY      tr.   S 2021

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